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                                          Certificate Number: 03088-PAE-DE-024950508
                                          Bankruptcy Case Number: 14-19244


                                                         03088-PAE-DE-024950508




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on February 3, 2015, at 2:02 o'clock PM CST, Linda M Aichroth
completed a course on personal financial management given by internet and
telephone by Debt Education and Certification Foundation, a provider approved
pursuant to 11 U.S.C. § 111 to provide an instructional course concerning
personal financial management in the Eastern District of Pennsylvania.




Date:   February 3, 2015                  By:      /s/Crystal Towner


                                          Name: Crystal Towner


                                          Title:   Counselor
